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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

In Re: New York City Policing During Summer 2020 :
Demonstrations : Index No. 20-cv-8924 (CM)(GWG)

BRIDGET FITZPATRICK, Managing Attorney of the Civil Litigation Unit (“CLU”) of the New York City
Police Department (“NYPD”), declares under penalty of perjury and pursuant to 28 U.S.C. § 1746, that the
following is true and correct:

1. Iam an attorney admitted to practice in the State of New York.

2. I submit this declaration at the request of the New York City Law Department, attorneys
for the Defendants herein, in support of the City’s motion for an extension of time, past
April 1, 2022, to produce certain documents and categories of documents to plaintiffs.

3. There are certain documents and categories of documents that the NYPD will not be able
to provide to the Law Department in time for them to be produced to plaintiffs by April 1,
2022, pursuant to Your Honors’ March 16, 2022 Order (Dkt. No.453).

4. Plaintiffs provided Defendants with a list of 83 different locations know as Schedule A.
Schedule A lists various dates and geographical locations. In order to provide Plaintiff
with all the documents requested for each location listed in Schedule A, CLU must first
ascertain which precincts cover the geographical areas for each of the 83 dates listed in

Schedule A. Many of the areas of occurrence requested by plaintiff in Schedule A cover
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at a minimum two precincts. Most NYPD databases require the precinct of occurrence in
order to insure a complete and accurate search. To provide Plaintiffs with all the documents
they requested CLU must search six different databases each with different search
functionality. Some searches require cross referencing information to ensure that the
document produced is protest related. For example, Medical Treatment of Prisoner forms
(“MTP’s”) do not always have a narrative and often when they do it is not clear why the
individual named was arrested. In order to ascertain if the arrest is protest related, you
have to cross reference the information listed in the FORMS database with information
listed in Omniform. Given the broad parameters in Schedule A in order to find MTPs
forms that are responsive, the first query in FORMS is the date of incident and borough of
occurrence. Then each form from the entire query list for that date and borough has to be
reviewed one by one to see if the form relates to a particular location listed in Schedule
A. Finally, if the narrative in the MTP form does not state that it is related to a protest the
arrest number must be searched in Omniform to see if the arrest was protest related.

Regarding arrest paperwork there are two different ways to search for arrest paperwork
based upon the information provided by the Plaintiffs. The first way is to use the
Omniform, database and go to the arrest report search page and enter a date range and
precinct. You would need to determine from Schedule A which precinct are in a given
geographical location for example if you are looking for arrests that occurred in Times
Square, you would need to look at all arrests from Midtown North and South for any given
day. Then you would have to go to the que of responsive documents and read the narrative
to insure that the arrest is related to the protests. Then you have to take the arrest number

and enter that number into the Omniform arrest portal, which should have the majority of
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the Arresting Officer’s paper work. Alternatively, you could review the Mass Arrest
Processing spread sheets which contain arrest numbers and run those arrest numbers in the
Omniform arrest portal. Running a query in the Omniform arrest portal requires an arrest
number (the arrest portal has the arrest paperwork but only for Desk Appearance Tickets
and live arrests).

. The FORMS database contains C-Summonses, Aided Reports, TRIs (Threat, Resistance
Injury), Stop Reports as well as Medical Treatment of Prisoner forms. Searching for any
of these reports require the same protracted type of search as for MTP’s.

. Regarding disciplinary and personnel files there are five different databases that need to be
searched to ensure a complete and through search. The Internal Case Management System
houses IAB resumes and logs from 2013 forward. CLU can only search for IAB resumes
in ICMS by UMOS tax number. Currently there are three people assigned to CLU who
have access to the ICMS database. That access is restricted so CLU can only produce IAB
resumes and logs, not case files. To obtain case files a communication has to be sent to the
IAB records officer. ICMS files are digital. IAB also has the IAPRO database which
contains information regarding IAB logs prior to 2013. There are no case files stored in
IAPRO just summaries of allegations. You can search by tax number or shield number but
not date of incident in IAPRO. Ifa case file is required from prior to 2013, it is a paper
case file which likely has to be retrieved from the NYPD’s off site storage facility.
Normally, when we search for disciplinary history we would have a subject officer’s name
or tax number. Many of the disciplinary investigations sought by plaintiff have neither
name nor tax. For example, Plaintiffs have requested all disciplinary files from 2014

forward related to allegations of UMOS being members of racist organizations. That
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request has to be handled by IAB records officer because they have greater search
capability. IAB does not investigate every allegation of UMOS misconduct. Cases that
are not investigated by IAB are tracked to the Chief of Department Investigation and
Review Section who sends the allegation to either an Investigatory Unit or the ICO of the
command involved. From 2018 forward those investigations are housed in a database
called Internal Case Management Tracking (ICMT). Currently the NYPD Legal Bureau
does not have access to this database, in order to obtain records from ICMT a
communication has to be sent to one of two liaisons in the Chief of Department’s office.
These liaisons are responsible for answering every request from the entire Legal Bureau.
In order to provide plaintiff with the personnel records and training records for every
UMOS named CLU has to send communications to the Chief of Training and Human
Capital. CLU has access to the Central Personnel Index (CPI) and Central Personnel
Records (CPR). CPR lists trainings that a UMOS has attended but not the course material.
Course material has to be obtained from Chief of Training, that information is not on a
database that is accessible to CLU.

. Plaintiffs have requested policy and procedure documents dating back to 2002. Obtaining
historical documents, which are largely paper based, requires a written request to the
command that is the custodian of the documents. This is not always readily apparent as
the organizational structure of the NYPD has changed considerably over the years. For
example, the Strategic Response Group was proceeded by a borough wide task force. Once
the appropriate custodian is identified then that command must request the archived boxes
be obtained from our vendor. Depending upon the type of records requested it is not

unusual to have to manually search through hundreds of boxes.
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11.

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Plaintiff designated 9 commands that they want searched for communications regarding a
variety of topics including but not limited to policy changes implemented after certain
events if such documents exist. My colleague Heidi Grygiel has been working on obtaining
information from shared drives from these 9 commands. This is another time-consuming
process. Approximately 20 terms were run on each of their communications databases.
Some terms like Garner, Occupy Wall Street — specific protest names had very modest
results. The broader terms — protest, demonstrations, analysis — brought in larger document
counts. For these, EAC Grygiel must go through and choose the ones that are actually
protest related. Once they have been identified, she will have to go into the actual share
drives and locate the specific documents and save them all, which can only be done one at
atime. Ms. Grygiel is also trying to schedule about 8-10 interviews of team leaders at the
Intelligence Division to find out how long it will take to collect documents from their
shared drives.

For any given day on Schedule A, over 600 people could have had contact with the NYPD
during the protest. The type of interaction an individual had with the NYPD will dictate
what documents if any will exist. So, for example, on the early dates when there was a
large number of property crimes being committed, there is more arrest paperwork that has
to be pulled. Additionally, for the earlier dates on Schedule A there are several hundred
invoices that have be pulled and reviewed to insure that they are protest related.

It is not feasible to hire outside contractors to assist in locating and collecting documents.
Anyone who works for the NYPD, even interns, have to go through a rigorous background
check. Additionally, due to the sensitive nature of the records that are stored on our

databases, even if we could get contractors through the background check, we would have
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to request access via channels to every database. That takes at a minimum two weeks often
longer.

12. Finally, one member of the consolidated protest team at CLU is out as of Friday with Covid.
CLU is staffed largely with UMOS, the incoming administration has indicated that they
wish to increase police presence throughout the City. Therefore, on any given day at least
one UMOS from CLU is not in the office but rather assigned to enforcement details. All
of the above has proven slow down the team even further.

13. Due to the labor-intensive steps required to collect the documents requested by plaintiffs.
we expect it to take at least an additional two weeks from April 1‘ to complete the
document production.

Dated: March 22, 2022

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BRIDGET FITZPATRICK

